                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                     ABINGDON

UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )
                                                  )              Case No. 1:19-CR-00016
INDIVIOR INC. (a/k/a Reckitt Benckiser            )
   Pharmaceuticals Inc.) and                      )
INDIVIOR PLC                                      )

                                      MOTION TO SEAL

       The United States of America (“United States”) hereby moves for an order sealing its

Motion for Conflict of Interest Inquiry (submitted to the Court this same day) (“Motion”) until

further order of the Court, for the following reason. In the Motion, for the sole purpose of

providing the Court with sufficient information to conduct a conflicts inquiry, the United States

describes certain arguments defense counsel articulated in pre-indictment discussions and

negotiations. Defense counsel may wish to seek to have these discussions kept confidential.

Accordingly, the United States asks that the Motion be filed under seal to allow defense counsel

an opportunity to notify the Court of their reasons, if any, for the Motion to remain under seal.

                                                  Respectfully submitted,

                                                  DANIEL P. BUBAR
                                                  Attorney for the United States, Acting Under
                                                  Authority Conferred by 28 U.S.C. § 515

                                                  /s/ Albert P. Mayer, VSB No. 86024
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                                CERTIFICATE OF SERVICE

       I certify that on June 19, 2019, I electronically filed the foregoing Motion to Seal with the

Clerk of Court via the CM/ECF system, which will send notification of the filing to all counsel

of record in this matter.

                                                 /s/ Albert P. Mayer, VSB No. 86024




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